Case 2:25-CV GREY STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA CUE ID #:132

CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself [] )

Ted Entertainment, Inc.

DEFENDANTS

Does 1-10

( Check box if you are representing yourself [] )

Alexandra Marwa Saber f/k/a Marwa Talatt Aobdelmonem p/k/a Denims;

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S, PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S, PLAINTIFF CASES ONLY)

Los Angeles

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.
Heah Bar-Nissim LLP

1801 Century Park East, Ste. 2400, Los Angeles, CA 90067
(310) 432-2836

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Il, BASIS OF JURISDICTION (Place an X in one box only.)

1, U.S. Government
Plaintiff

2. U.S. Government
Defendant

3. Federal Question (U.S.
Government Not a Party)

[+ Diversity (Indicate Citizenship
of Parties in Item III)

Il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

Citizen of This State a 1 a Incorporated or Principal Place A 4 Y 4
of Business in this State

Citizen of Another State [|] 2 [[] 2 Incorporated and Principal Place Os 5
of Business in Another State

Citizen or Subject of a : .

Foreign Country 3 [73 Foreign Nation C16 (] 6

IV. ORIGIN (Place an X in one box only.)

1. Original
Proceeding

2. Removed from
State Court

L

3. Remanded from
Appellate Court

L

4. Reinstated or
Reopened

L

5. Transferred from Another
District (Specify)

L

6. Multidistrict
Litigation -
Transfer

L

8. Multidistrict
Litigation -
Direct File

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [ | No
CLASS ACTION under F.R.Cv.P. 23:

[ ]Yes No

(Check "Yes" only if demanded in complaint.)

MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the US. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
17 U.S.C. Section 501 (Direct Copyright Infringement and Contributory Copyright Infringement)

Vil. NATURE OF SUIT (Place an X in one box only).

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
LL] 375 FalseClaims Act |[_] 110 Insurance [] 240 Torts to Land oO 462 Naturalization Habeas Corpus: 820 Copyrights
Application 463 Alien Detainee
g 376 Qui Tam (1) 120 Marine [] 245 Tort Product U . J 830 Patent
(31 USC 3729(a)) Liability g 465 Other O 210 Motions to Vacate 835 P Abbreviated
[_] 130 Miller Act [-] 290 All Other Real Immigration Actions entence atent - Abbreviate
400 State 530G | oO sas
O Reapportionment 140 Negotiable Property TORTS OC enera New Drug Application
C1 410 Antitrust LI instrument TORTS PERSONAL PROPERTY |L_] 535 Death Penalty [1] 840 Trademark
[1] 430 Banks and Banking 150 Recovery of PERSONAL INJURY [-] 370 Other Fraud Other: oO 880 Defend Trade Secrets Act
Overpayment & |[] 310 Airplane Truth In Lendi [_] 540 Mandamus/Other of 2016 (DTSA)
oO 130 Commerce/ICC Enforcement of ql 315 Airplane [] 371 Truth in Lending SBESERUING
oO 260 De vortation vegmen Product Liability 380 Other Personal |L] 550 Civil Rights
P [_] 151 Medicare Act 320 Assault, Libel & CO Property Damage [1] 555 Prison Condition L] 861 HIA (1395ff)
470 Racketeer Influ- LC Slander
LI enced & Corrupt Org. 152 Recovery of 330 Fed. Employers’ (LJ 385 Property Damage! —- «9 civil Detainee [] 862 Black Lung (923)
[-] 480 Consumer Credit [1] Defaulted student |] Liability poy Product Liability L] Conditions of [_] 863 DIWC/DIWW (405 (g))
485 Telephone Loan (Excl. Vet.) 340 Mari BANKRUPTCY Confinement 864 SSID Title XVI
C1 Consumer Protection Act 153 Recovery of O 345 Marine Product |] 422 Appeal 28 FORFEITURE/PENALTY _|L1 me
[J 490 Cable/Sat TV [] Overpayment of |] Liability USC 158 g 625 Drug Related ] 865 RSI (405 (g))
Vet. Benefits 423 Withdrawal 28 Seizure of Property 21
oO 850 Securities/Com- 160 Stockholders! |L] 350 Motor Vehicle CO Uscis7 USC 881 FEDERAL TAX SUITS
890 Other Statutory OO suits [1 355 Motor Vehicle CIVILRIGHTS _|L1 690 Other [820 Taxes (US. Plaintiff or
LI actions 190 Oth Product Liability [] 440 Other Civil Rights LABOR Defendant)
er 360 Other Personal - 871 IRS-Third Party 26 USC
[1 891 Agricultural Acts Contract LJ Injury [1 441 Voting Ol a Fair Labor Standards] [_] 7609
‘ 195 Contract 362 Personal Injury-
gO 893 Environmental CJ Product Liability OC Med Malpratice L] 442 Employment oO 720 Labor/Mgmt.
895 Freedom of Info. |[_] 196 Franchise oO 365 Personal Injury- |[] Ae using ons erations
C1 act Product Liability (J 740 Railway Labor Act
REAL PROPERTY Ameri ith
trati 367 Health Care/ 445 American wit , ;
LC 896 Arbitration : isabilities- 751 Family and Medical
h | [] Disabilities
210 Land [7] Pharmaceutica CI Leave Act
899 Admin. Procedures Condemnation Personal Injury Employment
[_] Act/Review of Appeal of [1] 220 Foreclosure Product Liability oO 446 American with |] 790 Other Labor
Agency Decision Rent Lease& |C] 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of 230 Rent Lease Personal Inju ; 791 Employee Ret. Inc.
O State Statutes CO] Ejectment Product Linbilty L] 448 Education Cl Security Act
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Case 2:25-CV GREY STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA CUE ID #:133

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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?

[] Yes

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

[x] No

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

OC Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
L] Orange Southern
[] Riverside or San Bernardino Eastern

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes No

If "no, " skip to Question C, If "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.,?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question B.2.

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

O

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes [x] No

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question C.2.

C.2, Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.

[] Enter "Western" in response to Question E, below, and continue
from there.
A. B. Cc.
P ar Riverside or San Los Angeles, Ventura
s 3 ? ir
QUESTION D: Location of plaintiffs and defendants? Orange County Bernardino County | Santa Barbara, or San
Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district Ol cq
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices [] L]

apply.)

D.1. Is there at least one answer in Column A?

[_] Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[Xx] No

—

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B,C, or D above: ma.

WESTERN

QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

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IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [] YES

If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
NO [] YES

If yes, list case number(s):

If yes, you must file a Notice of Related Cases. See Local Rule 83-1.3.

Civil cases are related when they (check all that apply):
[] A. Arise from the same or a closely related transaction, happening, or event;
[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
[] A. Arise from the same or a closely related transaction, happening, or event;
[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

X. STATEWIDE OR NATIONWIDE RELIEF: Does this case seek to bar or mandate enforcement of a state or federal law and seek declaratory
or injunctive relief on a statewide or nationwide basis? NO O YES

If yes, see Local Rule 83-11 for additional requirements.

XI. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /S/ Rom Bar-Nissim DATE: June 19,2025

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))
862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)
863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus

all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
864 ssID amended.
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 U.S.C. 405 (q))

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